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 5
                                     IN THE UNITED STATES DISTRICT COURT
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                           IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
 7
                                               FRESNO VENUE
 8
     UNITED STATES OF AMERICA,           )               No. CR05-00341-AWI
 9                                       )
                 Plaintiff,              )               ORDER CONTINUING APRIL 10, 2006
10                                       )               MOTIONS HEARING TO MAY 15, 2006
                 vs.                     )
11                                       )
     JAMES HOLLAND et. al.               )
12                                       )
                                         )
13               Defendants.             )
     ____________________________________)
14

15           WHEREFORE GOOD CAUSE APPEARING, AND UPON THE STIPULATION OF THE

16   PARTIES, IT IS HEREBY ORDERED THAT the Status Conference and Motion Hearing date

17   presently scheduled for April 10, 2006 is continued to May 15, 2006 at 9:00 a.m.

18           IT IS FURTHER ORDERED THAT defendants shall file Motions no later than May 1, 2006,

19   Government Response is due on May 8, 2006, and any Reply is due on May 12, 2006.

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22           IT IS SO ORDERED.

23   Dated:     April 6, 2006                         /s/ Anthony W. Ishii
     0m8i78                                     UNITED STATES DISTRICT JUDGE
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     ORDER
     USA vs. HOLLAND et al CR05-00341-AWI
